Case 2:19-cv-13588-NGE-DRG ECF No. 24, PagelD.174 Filed 11/16/20 Page 1 of 22

qe

Case Number: 19-13588
Plaintiff

Grayson-Bey

Vs

Defendants

Southfield Police Department, Officer Michael Wojciechowski, Officer David
Moore and Officer Swade Fox

| Grayson-Bey am filing an objection to continue the cdse 19-13588

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| Grayson-Bey am submitting an objection to the Judge to not dismiss this case. |
am responding to all the “alleged” claims with proof. | was pulled over without
reasonable cause because | am a Moorish American, not an African American or
black, which is stated in the police report and is documented about my traveler’s
ID being returned, if in fact if the Id was a fraud then it would not have been
returned to me, my rights fall under a sovereign citizen and not from a US
corporation, and the exhibits | provided show that | was wrongfully held against
my will. Moreover, the judge dismissed the case in district court in Southfield
Court. And if everything is alleged then my case in Southfield would not have
been dismissed. The fact that | spent time in jail and my son was traumatized all
while because of the incident my wife lost her job, which caused loss of income
and pain and suffering, | am seeking 1.2 million as a relief, for the damages.

This case is about Southfield police department and their attempt to use “color of
law” and racketeering practices that’s done amongst cities, townships politicians
,police departments and traffic courts to deprive the people of their rights and
their properties. Police, city (Southfield police department, city of Southfield)
cannot deprive natural people of the unalienable /inalienable absolute right to
travel.

Personal Liberties: the right or the power of locomotion of changing one; s
situation or moving one’s person to whatever places one’s own inclination may
direct without imprisonment or restraint unless by due course of law.

Upon this constitutional republic form of government, the only thing you owe the
public is due care.

Southfield police department arrested me (Grayson-bey), with no probable cause.

Southfield police department introduced fleeing and eluding when office Moore
and officer fox stated that in the police report ,] was not charged with fleeing
and eluding, in fact | was not charged with fleeing and eluding(so where is the
probable cause), and | have attached it proof, see exhibit 2(police report).
Case 2:19-cv-13588-NGE-DRG ECF No. 24, PagelD.176 Filed 11/16/20 Page 3 of 22

Color of law definition

Refers to an act done under the appearance of legal authorization, when in fact,
no such right existed, it applies when a person is acting under real or apparent
government authority.

That is why it is a federal crime for anyone acting under color of law to willfully
deprive or conspire to deprive a person of a right protected by the constitution or
US law.

We the people (the plaintiff and the victims Assiyah Fateen, Ameer Grayson), the
people of the land have the right to pursue life liberty and justice and live in free
society.

Racketeering definition
Racketeering is dishonest and fraudulent business dealings.
Rico Act

Racketeering influenced and corrupt organization (rico act) is a united states
federal law that provides for extended criminal penalties and a civil cause of
action for acts performed as a part of an ongoing criminal organization.

Exhibit 1
(Southfield Police report)

It states that Grayson-Bey did provide a false ID that stated “Grayson-Bey” is a
free traveler.

It is not a crime to present a form of representation or ID , the fact that | was not
doing any commercial or commerce, it is my right to represent myself the way |
see myself, the word false may make it seem like a crime is being committed.

Southfield police department (Officer Michael Wojciechowski, officer David
Moore and Officer Swade Fox) are conducting their self like hignhwaymen.

Highwayman definition

A highwayman is a bandit, one who robs travelers upon the highway.
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They are policy and code enforcers highwaymen, who also as mercenaries .My
right to travel upon the land is not a policy, nor is it embodied in a code it is a
substantive right of birth, that cannot be abridged or liened upon, thus
unalienable and inalienable , | was not doing anything commerce that day.

A word we need to remember in this case is jurisdiction

Jurisdiction means the official power to make legal decisions and judgments that
means that one that day Southfield police Department was portraying the
highwayman, the judge and the jury. Southfield Police Department violated my
fourth amendment with no probable cause, | spent time in Southfield police
Department jail against my will.

Again, the definition of kidnap

Take (someone) away illegally by force, typically to obtain ransom.

| Grayson-Bey, Assiyah Fateen and Ameer Grayson are seeking relief for the
damages that has caused mental, physical and financial destitution

P.s

It is funny how scared it must be, to be the defendant and have the law staring
down at you.

Thanks to Honorable Nancy G. Edmonds, Mag. Judge David R. Grand and anyone
who is searching for true justice.

In response to me needing a lawyer and response to me not having a lawyer

| Grayson-Bey as a Moorish American, we are taught to govern ourselves
according to the constitution and minorities need representation or a lawyer not
adults what is a Moorish American?
Case 2:19-cv-13588-NGE-DRG ECF No. 24, PagelD.178 Filed 11/16/20 Page 5 of 22

Moors/Muurs are the natural members citizens of the ancients all Moroccan
empire (North American) and are duty-bound to recognize and to support our
“great seal” government and nation of the natural people and command the
enforcement of our constitution thus, such organized communication orders are
referred to as the great seal national! association of Moors affairs: the free
Moorish nation inclusive of all aboriginal/indigene tribes and the province of the
natural people etc, are the rightful bearer of the names and the title
ali,el,bey,dey, al and all future titles created the free Moors/Muurs by freehold
inheritance, retain all substantive rights and immunities.

Enjoy the exercising of a substance rights and operate upon consummated right
law isonomy-Principle having vested constitutions, secured right and immunities
from taxable, and from criminal and civil jurisdiction by and of the union states
right republic (U.S.A) pursuant to but not limited to the United States republic
supreme court, and the acts of the states to wit.

Every sovereign states(people) is bound to respect the independence of every
other sovereign state(people) and the courts of the country(people) will not site
in judgment on the government of another, done within (the same or) its own
territory .The present union states municipal and civil laws and codes off the land
are an incorporated unit of self-government established by the political powers of
the general assembly of each state of the union, and initiated at Philadelphia
Pennsylvania, North America in the years, eighteen sixty three (1863) union
state’s right , republic ,under the magna carter(chapter), The knights of Columbus
code and the Klux Klan oath, forever, said union state’s rights republic denied
citizenships in the united states republic (U.S.A) to the descendants of the
Moorish nation in the western hemispheres erroneously referred to and branded
and mislabeled as negroes, blacks, coloreds and African Americans etc. In addition
the supreme court of the united stated (in the landmark case) of Dred Scot Vs
Sanford Go Us(19 Howard) 393 (1857) held that negroes whether held to slavery
or free were not included and were not intended to be included in the category of
citizen(subjects) of the union state right republic-resultantly, the true indigene -
nobles of the Al Moroccan empire (free Moors) bearers of the names/titles
ali,el,oey,dey and al are excluded from the union state’s rights.

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Exhibit 1

Police report(racketeering) (highlighted)

Exhibit 2

The custody receipts(highlighted)

Exhibit 3

State of Michigan Order of Judgment form(highlighted)
Exhibit 4

Arrest slip sheet confinement to Southfield Jail(highlighted)

One copy will be sent to Federal court
And another copy will be sent to
Seward Henderson PLLC

T.Joseph Seward

David D. Burress

210 E.3 street, Suite 212

Royal oak, MI, 48067

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Exhibit 1

‘ Case 2:19-cv-13588-NGE-DRG ECF No. 24, PagelD.182 Filed 11/16/20 Page 9 of 22

st CR No: 190040970 RECEIVED
CATT FEB 12 2020
SOUTHFIELD PD
26000 EVERGREEN Pe ,
SOUTHFIELD MI 48037
248.796.5500

Case Report_

CR No ~——TSubject
190040970 4899 - Obstruct Police (Other) [48000]
Report Date/Time : Occurrence Date/Time
10/10/2019 16:23 10/10/2019 16:23
Location Call Source
HESSELL&EVERGREEN FOP
: Dispatched Offense Verified Offense
C3030 Traffic Arrest Warrant 4899 Obstruct Police (Other)
| OIC " OIC Contact Number
| WOJCIECHOWSKI, MICHAEL (SOWOJCIECHOWSKIN-
_ 405276) _
County , City/Twp/Village
63 - Oakland 91 - Southfield
Division
Patrol :

[ ] Arrest warrant [ ] Review only

[ ] Search warrant [ ] Forfeiture
[ ] Juvenile petition [ ] Other

Created On 02/10/2020 07:17 AM

Page 1 of § DDBOO1
Case 2:19-cv-13588-NGE-DRG ECF No. 24, PagelD.183 Filed 11/16/20 Page 10 of 22

CR No: 190040970

CIMCON

AMERICAN

Complexion Build Teeth Height Weight Attire
54" 171
Street Address Apt # County Country Home Phone Work Phone
18992 WESTBROOK ST UNKNOWN
City State Zip Cail Phone Email
DETROIT Mi 48219-2449 |3134046875
GRAYSON, AMEER (O-OTHER) (X-MISCELLANEOUS) [SOFOXS (12297)]
PE: W. Type: |Last Name First Name Middle Name Suffx = |Mr/Mrs/Ms
Grayson Ameer

DOS (Age) Sex Race Ethnicity Birth City & State | Birth Country Country of Citizenship
09/22/2011(8) |M  |BLACK/AFR

ICAN

AMERICAN
Street Address Apt# County Country Home Phone Work Phone
17690 ANNCHESTER RD DETROIT UNKNOWN
MI 48219
City State Zip Cell Phone Email

Mi 48219 UNKNOWN

Property Class eins tee Me Se. ws igh Type eS eee tees ety ke UGR Type “act ie EE Ales.
65 65 - Identity Documents K - Miscellaneous
Status Count Value
E - Evidence (Including Other Selzed Property And Toois) 1 1
Description Disposition Evidence Tag
False ID (sovereign Citizen)
Recovered Date/Time Location Owner
[A3 GRAYSON, JAVAAR TYRONE

otoreyele:(not Stolen Or Recovered) 6424 [SOFOXS (12297)
IBR Type UCR Type
24 24 - Other Motor Vehicles V - Other Vehicle (not Stolen or
Recovered)
Status Count Value
X - Impounded 1 1
Manufacturer Model Serial No. . | License No. Color
DODGE MAGNUM 2D4FV48V45H1 13023 DSQ5802
Vehicle Year Body Style State License Year
2005 MI
Description Oisposition Evidence Tag
Gray Dodge Magnum
Recovered Date/Time Location Owner . .
[432983396] GRAYSON, JAVAAR TYRONE

CR No: 190040970-001 Written By: SOFOXS (12297) Date: 10/10/2019 06:05 PM |

On above listed date and time, Officer Moore and |, Officer Fox, were traveling SB Evergreen in

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DDBO03
Case 2:19-cv-13588-NGE-DRG ECF No. 24, PagelD.184 Filed 11/16/20 Page 11 of 22

CR No: 199040970

U1 ATONE

a semi marked squad car (#33). Once we approached SB Evergreen & 8 Mile Rd, We observed
a Gray Dodge Magnum MI License plate (#DSQ5802)with tinted windows, sitting at pump #10 at
the marathon gas station.

Officers verified with Southfield dispatch the License plate number which came back as a felony
vehicle for Flee and Elude out of our city on 9/29/2019 (19-39271) per LEIN. .

The vehicle exited the parking lot in an unknown direction, Officer Moore and | checked the
immediate area for the vehicle. Officers located the vehicle EB 8 Mile at Annchester. The vehicle
slowed and continued to drive SB towards Hessell, then The vehicle made a right turn and
traveled WB on Hessell. At this time, we activated our overhead emergency red and blue lights,
initiating a traffic stop before the vehicle came to a complete stop just East of Evergreen.

Once Officers approached the vehicle, we ordered the driver Javaar Grayson out of the vehicle
with both of his hands on the back of his head. Grayson exited the vehicle without incident. He
was advised his vehicle came back as a felony vehicle for flee & elude out of Southfield on
9/29/2019.

Officers asked Grayson for his identification, which he then stated his name was Grayson Bey
and that he was 46 years old. Grayson failed to provided a Michigan divers license or State
issued ID, claiming he was a sovereign citizen and Grayson Bey was the name he chose.
Grayson did provide a false ID that stated "Grayson Bay" is a free traveler.

After searching LEIN for the name and age given with no response Grayson was placed under
arrest (HC/TC/DL) for misrepresentation.
Upon arrest his person was searched revealing a Michigan drivers license (G625376802856)

with the name Javaar Grayson.

Grayson's son (Ameer Grayson) was in the backseat of the vehicle and upon contact, he was
placed with Officer Gorecki until his mother (Assiyah Fateen) was able to make the scene to take

custody.
Disposition:

Grayson was transported to the Southfield jail wnere he was TOT jail staff without incident.

The arrest was reviewed by LT. Leon and bond was set at $250.

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DDBO004
Case 2:19-cv-13588-NGE-DRG ECF No. 24, PagelD.185 Filed 11/16/20 Page 12 of 22

CR No: 190040970

CNT

Vehicle was impounded by Officer Fair and removed from LEIN by 914.

The false ID was placed into evidence.

CR No: 190040970-002 Written By: SOWOJCIECHOWSKIM (05276) Date: 10/11/2019 02:28 PM

10/11/19

Ticket issued : 248903 for false ID to a PO
Bond: 500 Personal

Magistrate McEvans

Court: 10/16/2019 @ 8:30am

CR No: 190040970-003 Written By: SOPULLEND (12183) ATTACHMENT ONLY REPORT - No Narrative.

CR No: 190040970-004 Written By: SONAZIJ (11995) ATTACHMENT ONLY REPORT -.No Narrative

CR No: 190040970-005 Written By: SOWARRICKD (10902) Date: 12/19/2019 10:52 AM

GRAYSON, JAVAAR TYRONE

INCIDENT #: 19-40970 LINKED TO INCIDENT #: 19-39271
COURT DOCKET #: 19S248903A

CNT: 01 C/M/F: M 257324 PACC#257.324

OPERATING - LICENSE - FORGERY/ALTERATION

ARRAIGNMENT DATE: 10/11/19 PLEA: N-G BY COURT PLEA DATE: 10/11/19
FINDINGS: DISM BY PTY DISPOSITION DATE: 11/13/19

Page 5 of § / Created On 02/10/2020 07:17 AM _
005
Case 2:19-cv-13588-NGE-DRG ECF No. 24, PagelD.186 Filed 11/16/20 Page 13 of 22

Exhibit 2

Case 2:19-cv-13588-NGE-DRG ECF No. 24, PagelD.187 Filed 11/16/20 Page 14 of 22

Southfield Police Department

one REO
Custody Receipt

Description

Sovereign 1D
Serial #: NONE (FALSE ID/SOVEREIGN elTiz
ASGAGERIBY item Notes:

C01

lotal # of Items Transferred: 1
-omments:

i
ios

Thomas, Margaret :

deer

_. 14/18/2019 - 12:31 pm
teleased By Released To . Date/Time

Page 1 of 4

DDBO012

Case 2:19-cv-13588-NGE-DRG ECF No. 24, PagelD.188 Filed 11/16/20

Attachments:

ttachments Included In This Report:

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PULLEN, DONNA

Grayson, Javaar (pdf Arrest Jacket... | 10/15/2019 03:40

Tyrone. 11 07 Grayson, Javaar (PM

1973.PDF Tyrone 1107
1973

19-40970).PDF° pdf PROPERTY 11/20/2019 11:54 |NAZI, JESSICA [RECORDS
PAPERWORK __ [AM

DDBO006

Case 2:19-cv-13588-NGE-DRG ECF No. 24, PagelD.189 Filed 11/16/20 Page 16 of 22

Exhibit 3

. Case 2:19-cv-13588-NGE-DRG ECF No. 24, PagelD.190

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' \ i i
is G-4o9 oO |
STATE OF MICHIGAN DISTRICT COURT
_ “JUDICIAL DISTRICT 198248903 ST DOL |
| REGISTER OF ACTIONS/JUDGMENT : .
ReMi 6300450 190040970 CASE NO.
THE STATE OF MICHIGAN , Case assigned ta:
Judge
GRAVSON / TAVARR/TY DONE ‘CYNTUTA MPBAGH povaAnT
Defendant name and address . Date of complaint Police Agency .
1o/19/19 H7ei
GRAY SON/ JAVAAR/TYRONE BOND HISTORY
18992 WESTBROOK |
DETROIT MI 48219
. , Sid:
208: oe PH: CTN: °
1L/N7T/1072 CATIPSAONEF
dperatar’s License ~ , Offense data
CAPSATERANPR5SSG MT to /in 78
dflense Ordinanace No. ~ .
: T OPRRATING = LTCENSE = FOCCKPV JATLTRD BT THN Dete Attomey, Address, Bar #, Telephone
ange Code KXXYYYE -
957 3274
nvestigating Officer (5) i WOICIECHOWSEI, MICHAEL
* *rosecuting Attorney
0 waived Ch caa
SDJUD. DATE Oo DISPOSED AT _CIRCUTT COURT
Add Count ’
a2. 7 i : +
| [z | CF] Gy Add New Case Cl Arraign (AR) C1 Pre-Exarn Gont (HD) Judge
3 Guilty (01) ghch Trial (TR) C1 VOP Hg (PV) Date/Time
nit Resp (09) f : - .
2.Contend (05) CO Jury Trial (JT) ~ Ci Other 46DC Rptr
DISPOSITION ‘ :
posed by Plea - 14 Ci Not Guilty, Judge - 05 ( Exam Cond/8o - 09 (_] 333.7411 Cont Subst - DFO+ CJ Sec 771.1 Delayed Sent
aosed NC Plea - 15 (0 Not Guitty, ‘Jury - 06 C) with felony | (9762.14 HYTA - DFO2
gment Responsible - 23. [) Dismissed - 08 (J Exam Waived/BO- 10 | (1) 769.4a Spouse Abuse Act - DFO3 ™m
tty as Charged - 01 (1 Nolle Prosequi - 25 Q with felony (C) 750.430 Pract Under Inf - DFO04 .
ity, Added Ct - 02 Dismisses by Parties-26 [Cl ExamCond/Dis-16 | [1 436.1703 MIP - DFOS months
Ity by Jury - 04 . .
SENTENCE
& Costs Any Fees Incurred Pay By Jail Cl work ralease Jail Alternatives
: Lic Reinst Fee : days
Late Fee Cand____days DAVE. COWAMMWP & Fee
te Min Costs 20% Penalty Oor days OODLE O) Tether
ndard F/C BW Fee. - O Inpatient
pend NSF Fee credit days. (© Other: ____ C Other .
ion POE Comm Service Immobilization License Sanctions Bond - Change to
oO C In tieu of F/C 4 Drug Crimes
O Separate Cond YS | susp____days | J Refund ncel
d : } A it O
. ays start date Rest ____days Ci Apply O Continue/®
OTHER PROGRAMS OTHER COSTS/FEES SPECIAL CONDITONS/JUDICIAL NOTES I
im Impact Panel ( Substance Abuse Assessment Fee (S) Sky fe CORN OF ro cog a
istance Abuse Educatior/Treatment . () Victim's Rights Fee {V) \ ? ’
Aicohol/Unprescribed Drugs 0 Drug Testing O) Emergency Service Reimbursement MOS TO gO tsyn ¢ S §
NA at least xperweek| ¢
nestic Violence Program (CI CAA Reimbursement (A) $ ‘ ‘ , :
d. Offender Class C] AB Program Ci Restitution (P) $ K Dobe hu (dS
nt chee watio valid license Q Missed ‘Appts (S)$ ~ Cc
PS! Assessment Fee (P8CO f S
oP Home, ° : bach yin Ho PD

30VE CONDITIONS ARE HEREBY ORDERED. SENT DATE [ |

13 | (7 JUDGE

(Mic?

DDBO013
Case 2:19-cv-13588-NGE-DRG ECF No. 24, PagelD.191 Filed 11/16/20 Page 18 of 22

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State of Michigan ORDER / JUDGMENT FOR: Ticket / Case Number
46th [Agpretriat - Release [7 Jeustoay [sentence 19S248903A
Judicial! District Court [” Jamended [commitment to Jail [video Arraignment
26000 Evergreen Road, Southfield, MI 48076 ' [Defendant's Name, Address, and Telephone Number
ORI# Mi630045J Phone # 248.796-5880 Name JAYAAR GRAYSON
V [Address
THE PEOPLE OF
State of Michigan [X - (City, State, Zip | l]
(City, Twp, Village)  1D.0.B. [SSN# |
: CTIN/TCN SID #
Date of Arrest Type of Arrest Arresting Agency Agency File No.
soning =| [ ]civt [X]misdemeanor [" |Felony {SFPD
Offense(s) Statute/Ordinance/Citation # |Offense(s) Statute/Ordinance/Citation #
# 1° MISREP #20
#3. #4
# 5 # 6
Purpose of Next Appearance PT Time of Appearance 8:30AM Date of Appearance ___ 10/16/19
Place of Next Appearance [X]Atthe Court Address Above [7 ]Other Bond Denied [~_]
Type of Bond (Minimum Conditions Required Prior to Release)
[]Cash / Surety [_]Cash / Surety - 10% Cash Personal " Amount/Value of Bond: $ S00
[__]Real Property (Proof of Value and Interest in Real Property is Required) [JTether-(type)
Other Bond Conditions .
1 CI The Defendant / Juvenile shall post a new Bond [MC 241]. Any additional conditions are specificed in Item #2.
2 [KX] Conditions to be specified in the Bond are: Expiration Date:
[x]Oefendant shall appear for all Court appearances [X]No alcohol or illicit non-prescribed drug use

[x ]Defendant may not leave the State of Michigan without permission of the Court
[x ]Defendant shall notify the Court of any address change

[__]other
See Attached Sheet [[X_]
IT IS ORDERED
[__] Probation is revoked [__]Bond is revoked [__]Photo |.D. Required for Delayed Sentences

CJ Defendant is sentenced to Jail as follows:

Sentenced Credited To Be Served] Release Authorized for the
Offense(s)} Mos | Days! Mos | Days | Mos | Days Following Purpose
#1 Time to Pay Fines/Costs
#2 eo School Attendance
#3 = [_Jror Medical Treatment

[[_] Work Release Granted (If Eligible)
[__] Defendant ordered immediately released: [__]Upon Payment of.

[__Jother.
Defendant's Signature Judge / Magistrate MCEVANS
Date: 10/11/19 BarNo. P69877

~oRl:

DDBO010

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Exhibit 4
Case 2:19-cv-13588-NGE-DRG ECF No. 24, PagelD.193 Filed 11/16/20 Page 20 of 22

a“ ARREST SLIP FOR CONFINEMENT IN SOUTHFIELD JAIL

SUBJECT’S NAME Grayson “VaVeay Tyrtove MAIDEN:
Last — First Middle

appress:_|7¢ {0 Anndvester bd fod reir Nk GPa
Street City State Zip

HOME PHONE: ceLt PHONE: 013 -709- GY 23
D.O.B: “o/s U/7/73 Race: Bo sex: /77_BIRTHCITYS STATE: Relused
HGT: wcT: EYE: HAR: GLASSES/CONTACTS:

oPs CODE: (<25.3274- Fo 2-% Grare:/ML_ sOciaL sec #: essed
scarsraTroos:__[/. S Sed

EMERGENCY CONTACT: Oo5ed RELATIONSHIP:
ADDRESS:
Street City State Zip
PHONE #:
DATE: lo | O / q ARRESTING P.0:_~- Fox L 0). Hileote BADGE:_/0/ Z
Print Name
compre: [A-YO170 cmarces: 1) {77S 2 e) FQ)
2) FM 3) F/M
4) FM 5) FM

IF SFLD WARRANTS ENTER COMPL # & ORIGINAL CHARGE BELOW:

1) FM 2) F/M
3) FM 4) F/M
WARRANTS OTHER AGENCIES:

ARRESTING OFFICER’S SIGNATURE:

NEEDS GOOD ID OR PRINT VERIFICATION: YES (o>
OWM/INTOX RELEASE TIME:

REVIEWED ws Lf”) ZL ” ponp:_ PSC, GO

ORIGINAL - JAIL COPY DUPLICATE - OFFICER COPY

DDBO009

Case 2:19-cv-13588-NGE-DRG ECF No. 24, Page'D. 194 Filed 11/16/20 Page 21 of 22

ARREST SLIP FOR CONFINEMENT IN THE OAKLAND COUNTY JAIL

. ~Fyftare.to submit required livescan documentation for NON-SHERIFF’S arrest will result in NON-ACCEPTANCE of the
prisoner. ‘This form must be completely filled out by the arresting officers of their department before leaving a prisoner
at the booking desk for registration.

Finger Prints Taken: Build_ IDIAFIS = NONE__——s«sGNN C° 7273 00377
Subject Last: GRAYSON First: JAVAAR Middle: TYRONE

Maiden Name: Alias:

Address: 17690 ANNCHESTER RD City: — DETROIT State: ME Zip: _agodg
Phone: Hore: {343}. 204.6873 Cell: Work:

0.0.8. 44/07/4973 Race: BLACK Sex MALE Birth City MORROCO Birth State:_ xx
Height. (511 Weight: 499 Eye: grown Hair: BLACK  Glasses/Contacts: yoye YES NO

Miltary: no . SOR: YES (0) Gang: YES “yes (0) If yee, Name:
Scars/Marks/TattoosiPiercings: sled
Drivers License Number: 8253576802856 State: Mil Social Security #:
Emergency Contact: RPEFUSEN Relationship: OTHER
Address: City: State: Zip:
Phone: Home: Cail: Work:
Victirn Name Relationship:
Address: City: State: Zip:

® Phone: Home: Ceil: Work:
Date: 4044012019 Arrasting Agency: soururirin poLice peer OfficerBadger: coy 7p MOORES

"If QUIL arrest please complete the following: BAC: Time: RPE YES NO TIME

Property Taken At Booking: YES NO Cash Taken at booking: = YES NO Amount:
Charge Type (Circte One} F/MO (Circle One} Court Clrele One Charge Description
Warrant ! lew Charge) FIM ILDo 1 Seek Wmt/Ticket pecreucriomen
Warrant / New Charge FIMILO yy Seek Wint / Ticket
Warrant / New Charge FIM/LO 0 Seek Wint / Ticket
Warrant / New Charge FIMILO 0 Seek Wrnt / Ticket

Incident # on40 4 avn Notes: 1940970, S$/B SO FORBES, MISREP BOND $250

Medical Precautions:

Suicidal: NO hy
Accident: YES NO Clearance: YES NO Treating Hospital: *
if Vehicle was Impounded please provide tow company:

Officer Signature: ~—F

Officer Printed Name carts om forv$es

@ QCSO intake Officer:

95-1142-AS REV 04-2016

SoS F/39)

NC-In
se p only

Case 2:19-cv-13588-NGE-DRG_.ECE.No._ 24. Pale ils $120 Page 22 0f 22.

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